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         Plaintiff’s Exhibit No. 2
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION


     THERAPEUTICSMD, INC.,                            CASE NO. 9:20-cv-82296-RAR
                   Plaintiff,
     v.
                                                       JURY TRIAL DEMANDED
     EVOFEM BIOSCIENCES, INC.,
                   Defendant.



         THERAPEUTICSMD’S CORRECTED FIRST AMENDED INITIAL DISCLOSURES

            In accordance with Fed. R. Civ. P. 26(a)(1), Plaintiff TherapeuticsMD, Inc. (“Plaintiff” or

    “TherapeuticsMD”) hereby make the following initial disclosures in the above-captioned matter

    to Defendant Evofem Biosciences, Inc. (“Defendant” or “Evofem”). These disclosures are based

    on information now reasonably available to TherapeuticsMD. By making these disclosures,

    TherapeuticsMD does not represent that it is identifying every document, tangible thing or witness

    possibly relevant to this lawsuit. In accordance with Fed. R. Civ. P. 26(e), TherapeuticsMD,

    expressly reserves the right to amend, clarify, or further supplement these disclosures as the case

    progresses and as further investigation and discovery reveal additional issues and information.

    TherapeuticsMD also reserves the right to object to the admissibility of any information disclosed,

    and reserves any other applicable objections they may have, including but not limited to objections

    based on relevance, attorney-client privilege, work product doctrine, burden, and confidentiality.

    I.      POTENTIAL FACT WITNESSES

    Fed. R. Civ. P. 26(a)(1)(A)(i). Provide the name and, if known, the address and telephone number

    of each individual likely to have discoverable information—along with the subjects of that
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    information—that the disclosing party may use to support its claims or defenses, unless the use

    would be solely for impeachment.

    RESPONSE:

           TherapeuticsMD has not yet identified all individuals likely to have discoverable

    information that they may use to support their claims or defenses. At this time, TherapeuticsMD

    identifies the following individuals likely to have relevant discoverable information, which it may

    use to support his claims or defenses. Discovery is ongoing and in its preliminary stages, and

    TherapeuticsMD anticipates that other individuals may also have discoverable information upon

    which TherapeuticsMD may rely and specifically reserves the right to identify additional witnesses

    as discovery proceeds.

           In making these disclosures, TherapeuticsMD does not waive its rights to object, pursuant

    to applicable Local and Federal Rules, to discovery of information by deposition or otherwise from

    any of the individuals listed below, including without limitation based on the attorney-client

    privilege and/or work product immunity. TherapeuticsMD does not consent or authorize any other

    party to communicate with TherapeuticsMD’s employees, or other individuals with privileged

    information, and does not consent to or authorize any communications prohibited by any

    applicable rule of professional conduct. Any individuals designated in this disclosure as an

    employee of TherapeuticsMD should be contacted only through TherapeuticsMD’s undersigned

    attorneys. By indicating the general subject matter of information these individuals may possess,

    TherapeuticsMD is in no way limiting its right to call an individual to testify regarding other

    subjects.




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            Name                Role and Contact                     Subject
                                  Information

                           TherapeuticsMD,
                           Co-Founder and Director

                           c/o Hackler Daghighian
                           Martino & Novak P.C.
                           10900 Wilshire Blvd.
       Dr. Brian Bernick                                Knowledge of IMVEXXY and its
                           Suite 300                    indication.
                           Los Angeles, CA 90024
                           310-887-1334

                           Any contact is to be made
                           through the undersigned
                           counsel.
                           TherapeuticsMD,
                           V.P. of Regulatory Affairs

                           c/o Hackler Daghighian
                           Martino & Novak P.C.
                           10900 Wilshire Blvd.
        Valerie Ahmuty                                  Communications with the FDA
                           Suite 300                    regarding IMVEXXY.
                           Los Angeles, CA 90024
                           310-887-1334

                           Any contact is to be made
                           through the undersigned
                           counsel.
                           TherapeuticsMD,
                           V.P. of Marketing

                           c/o Hackler Daghighian
                           Martino & Novak P.C.
                           10900 Wilshire Blvd.         Marketing and advertising of
        Kristen Landon                                  IMVEXXY; TherapeuticsMD’s
                           Suite 300                    selection and adoption of the
                           Los Angeles, CA 90024        IMVEXXY mark.
                           310-887-1334

                           Any contact is to be made
                           through the undersigned
                           counsel.




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            Name               Role and Contact                      Subject
                                 Information

                          TherapeuticsMD,
                          Senior V.P. of Sales

                          c/o Hackler Daghighian
                          Martino & Novak P.C.
                          10900 Wilshire Blvd.
          Chris Gish      Suite 300                   Marketing and sales of IMVEXXY.
                          Los Angeles, CA 90024
                          310-887-1334

                          Any contact is to be made
                          through the undersigned
                          counsel.
                          TherapeuticsMD,
                          V.P. of Finance

                          c/o Hackler Daghighian
                          Martino & Novak P.C.
                          10900 Wilshire Blvd.
       Michael Donegan                                Sales and financial data related to
                          Suite 300                   IMVEXXY.
                          Los Angeles, CA 90024
                          310-887-1334

                          Any contact is to be made
                          through the undersigned
                          counsel.
                          TherapeuticsMD, IP
                          Counsel

                          c/o Hackler Daghighian
                          Martino & Novak P.C.
                          10900 Wilshire Blvd.        IMVEXXY U.S. trademark and
          Sam Desai       Suite 300                   registration; communications with
                          Los Angeles, CA 90024       Evofem.
                          310-887-1334

                          Any contact is to be made
                          through the undersigned
                          counsel.




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            Name               Role and Contact                       Subject
                                 Information

                          TherapeuticsMD, General
                          Counsel

                          c/o Hackler Daghighian
                          Martino & Novak P.C.
                          10900 Wilshire Blvd.          IMVEXXY U.S. trademark and
        Marlan Walker     Suite 300                     registration; communications with
                          Los Angeles, CA 90024         Evofem.
                          310-887-1334

                          Any contact is to be made
                          through the undersigned
                          counsel.
                          TherapeuticsMD, Inc.
                          former sales representative

                          c/o Hackler Daghighian
                          Martino & Novak P.C.
                          10900 Wilshire Blvd.
          Erica Tague                                   Communications regarding instances
                          Suite 300                     of actual confusion
                          Los Angeles, CA 90024
                          310-887-1334

                          Any contact is to be made
                          through the undersigned
                          counsel.




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              Name                  Role and Contact                     Subject
                                      Information

        Jillian Brierley,
              Loren
       Sullivan,Courtney
            Feltman,
         Zach Duskin,
      Adam Gilbert,Jordan
             Harwell,
       Adam Gremillion,
         Kelly Asbell,
         Chris Abbott,
                               TherapeuticsMD, Inc. sales
         Addie Moses,          representatives
         Chad Myers,
        Emily Kunkle,          c/o Hackler Daghighian
                               Martino & Novak P.C.
        Elizabeth Remotti,     10900 Wilshire Blvd.
          Michael Strom,                                    Communications regarding instances
                               Suite 300                    of actual confusion
           Tammy Czar,         Los Angeles, CA 90024
                               310-887-1334
          Victoria Scalla,
            Robin Taff,        Any contact is to be made
            Keri Leach,        through the undersigned
        Kimberly Walker,       counsel.
        Natalie Fernandez,
            Tara Deem,
        Patricia Lenkman,
        Marsha Tryforos,
             and other
      TherapeuticsMD, Inc.
       sales representatives




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             Name                 Role and Contact                       Subject
                                    Information

                             TherapeuticsMD, Inc.
                             medical and scientific
                             consultant in obstetrics and
                             gynecology

                             c/o Hackler Daghighian
                             Martino & Novak P.C.
      Dr. Corrado Altomare                                  Communications regarding instances
                             10900 Wilshire Blvd.           of actual confusion
                             Suite 300
                             Los Angeles, CA 90024
                             310-887-1334

                             Any contact is to be made
                             through the undersigned
                             counsel.




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             Name                  Role and Contact                 Subject
                                     Information

                                                      Information concerning and/or
                                                      relating to Evofem’s infringement of
                                                      the IMVEXXY mark;
                                                      Pre-suit knowledge of the
                                                      IMVEXXY mark and associated
                                                      pharmaceutical product;
                                                      Evofem’s selection, adoption, use,
                                                      licensing, advertising and/or
                                                      marketing of the PHEXXI mark;
                                                      Evofem’s applications to register the
                                                      PHEXXI mark in the USPTO as well
                                                      as other foreign jurisdictions,
                                                      including related communications
                                                      with the USPTO;
                                                      Legal opinions concerning likelihood
                                                      of confusion between IMVEXXY
     Evofem and its current   12400 High Bluff Dr.,   and PHEXXI;
     and former employees,
      representatives, and    #600, San Diego, CA     Trademark clearance searches,
             agents           92130                   analysis, and communications related
                                                      thereto;
                                                      Evofem’s communications with the
                                                      FDA regarding the proprietary name
                                                      PHEXXI and/or goods associated
                                                      therewith;
                                                      Evofem’s sales and financials related
                                                      to the PHEXXI product;
                                                      Marketing strategies and advertising
                                                      spends;
                                                      Communications of sales agents
                                                      regarding PHEXXI and IMVEXXY;
                                                      and
                                                      Knowledge related to Evofem’s
                                                      affirmative defenses and
                                                      counterclaim.




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            Name                Role and Contact                    Subject
                                  Information

                                                      Evofem’s infringement of the
                                                      IMVEXXY mark;
                                                      Pre-suit knowledge of the
                                                      IMVEXXY mark and associated
                                                      pharmaceutical product;
                                                      Evofem’s selection, adoption, use,
                                                      licensing, advertising and/or
                                                      marketing of the PHEXXI mark;
                                                      Evofem’s applications to register the
                                                      PHEXXI mark in the USPTO,
                                                      including related communications
                                                      with the USPTO;
                                                      Legal opinions concerning likelihood
                                                      of confusion between IMVEXXY
                           Evofem’s CEO & President   and PHEXXI;
       Saundra Pelletier                              Trademark clearance searches,
                           12400 High Bluff Dr.,      analysis, and communications related
                           #600, San Diego, CA        thereto;
                           92130
                                                      Communications with the FDA
                                                      regarding the proprietary name
                                                      PHEXXI and/or goods associated
                                                      therewith;
                                                      Evofem’s sales and financials related
                                                      to the PHEXXI product;
                                                      Marketing strategies and advertising
                                                      spends;
                                                      Communications of sales agents
                                                      regarding PHEXXI and IMVEXXY;
                                                      and
                                                      Knowledge related to Evofem’s
                                                      affirmative defenses and
                                                      counterclaim.




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            Name               Role and Contact                     Subject
                                 Information

                                                      Evofem’s infringement of the
                                                      IMVEXXY mark;
                                                      Pre-suit knowledge of the
                                                      IMVEXXY mark and associated
                                                      pharmaceutical product;
                          Evofem’s Vice President &   Evofem’s selection, adoption, and
                          Deputy General Counsel      use of the PHEXXI mark;
      Stewart M Brown                                 Legal opinions concerning likelihood
                          12400 High Bluff Dr.,       of confusion between IMVEXXY
                          #600, San Diego, CA         and PHEXXI;
                          92130                       Trademark clearance searches,
                                                      analysis, and communications related
                                                      thereto; and
                                                      Knowledge related to Evofem’s
                                                      affirmative defenses and
                                                      counterclaim.



                                                      Evofem’s infringement of the
                                                      IMVEXXY mark;
                                                      Pre-suit knowledge of the
                                                      IMVEXXY mark and associated
                                                      pharmaceutical product;
                          Evofem’s Executive Vice     Evofem’s selection, adoption, and
                          President & General         use of the PHEXXI mark;
                          Counsel                     Legal opinions concerning likelihood
       Alex Fitzpatrick                               of confusion between IMVEXXY
                          12400 High Bluff Dr.,       and PHEXXI;
                          #600, San Diego, CA         Trademark clearance searches,
                          92130                       analysis, and communications related
                                                      thereto; and
                                                      Knowledge related to Evofem’s
                                                      affirmative defenses and
                                                      counterclaim.




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           Name               Role and Contact                        Subject
                                Information

                                                       Evofem’s infringement of the
                                                       IMVEXXY mark;
                         Evofem’s sales                Communications regarding instances
        Michele Shaap                                  of actual confusion; and
                         representative
                                                       Communications of sales agents
                                                       regarding PHEXXI and IMVEXXY.



       Danielle Adams                                  Evofem’s selection, adoption, and
                         Evofem’s employee             use of the PHEXXI mark;


                                                       Evofem’s infringement of the
                                                       IMVEXXY mark;
                                                       Pre-suit knowledge of the
                                                       IMVEXXY mark and associated
                                                       pharmaceutical product;
        Silvia Myhre     Evofem’s former employee
                                                       Evofem’s selection, adoption, and
                                                       use of the PHEXXI mark; and
                                                       Trademark clearance searches,
                                                       analysis, and communications related
                                                       thereto.


                         Partner, counsel of record
                         on the trademark
                         registration and pending      Prosecution of trademark
                         applications                  applications and registrations for the
                                                       PHEXXI mark, including statements
       Andrew S. Skale   Mintz, Levin, Cohn, Ferris,   and representations made during
                         Glovsky and Popeo, P.C.       prosecution; trademark searching and
                         3580 Carmel Mountain          clearance; legal opinions related to
                         Road, Suite 300, San          PHEXXI or IMVEXXY
                         Diego, CA 92130




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            Name                   Role and Contact                        Subject
                                     Information

                              Evofem’s Trademark            Prosecution of trademark
                              Specialist                    applications and registrations for the
                                                            PHEXXI mark, including statements
          Jacobo Dib          Mintz, Levin, Cohn, Ferris,   and representations made during
                              Glovsky and Popeo, P.C.       prosecution; trademark searching and
                                                            clearance; legal opinions related to
                                                            PHEXXI or IMVEXXY

                                                            Information concerning and/or
                                                            relating to Evofem’s infringement of
                                                            the IMVEXXY mark;
                                                            Pre-suit knowledge of the
    Archer Healthcare, Inc.   Evofem’s former telesales     IMVEXXY mark and associated
      and its current and     representative or agent       pharmaceutical product;
      former employees,                                     Marketing strategies and advertising
     representatives, and     101 Virginia Ave.,            spends;
            agents            Wilmington, NC 28401
                                                            Communications regarding instances
                                                            of actual confusion; and
                                                            Communications of sales agents
                                                            regarding PHEXXI and IMVEXXY.

                                                            Information concerning and/or
                                                            relating to Evofem’s infringement of
                                                            the IMVEXXY mark;
                                                            Pre-suit knowledge of the
                                                            IMVEXXY mark and associated
                                                            pharmaceutical product;
                              Evofem’s branding             Evofem’s selection and adoption of
    Brand Institute, Inc. and representative or agent       the PHEXXI mark;
     its current and former                                 Trademark clearance searches,
           employees,                                       analysis, and communications related
      representatives, and    400 Corporate Pointe,
              agents          Suite 300, Culver City, CA    to PHEXXI; and
                              90230                         Communications with the FDA
                                                            regarding the proprietary name
                                                            PHEXXI and/or goods associated
                                                            therewith; and
                                                            Communications regarding PHEXXI
                                                            and IMVEXXY.




   TherapeuticsMD also designates all witnesses disclosed by Evofem.

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   II.       DOCUMENTS, ESI, AND TANGIBLE THINGS

   Fed. R. Civ. P. 26(a)(1)(a)(ii). Provide a copy—or a description by category and location—of all

   documents, electronically stored information, and tangible things that the disclosing party has in

   its possession, custody, or control and may use to support its claims or defenses, unless the use

   would be solely for impeachment.

   RESPONSE:

             The following is a description by category and location of all documents, data

   compilations, and tangible things that are in the possession, custody or control of

   TherapeuticsMD and that TherapeuticsMD may use to support its claims or defenses. Certain of

   the documents may be subject to attorney-client privilege, work product protection, or other

   applicable claims of privilege. Confidential documents, including relevant financial information,

   will be furnished, subject to other objections, pursuant to the scheduling order in this case, and/or

   after execution of an appropriate protective order. TherapeuticsMD reserves the right to amend

   or supplement these disclosures as provided under Fed. R. Civ. P. 26(e). TherapeuticsMD

   reserves the right to supplement these categories as investigation and discovery progresses.

   TherapeuticsMD identifies, without limitation, at least the following documents, electronically

   stored information, and tangible things in its possession, custody, or control that it may use to

   support its claims or defenses:

         •   Records from the USPTO regarding TherapeuticsMD’s trademark registration for the

             IMVEXXY Mark;

         •   Documents relating to the selection and adoption of the IMVEXXY Mark;

         •   Documents relating to use, sales, marketing and advertising of TherapeuticsMD’s

             products, including IMVEXXY;


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      •   Documents relating to Evofem’s use, marketing, and advertising of the PHEXXI mark;

      •   Samples of products offered and shipped by TherapeuticsMD;

      •   Records from the USPTO regarding Evofem’s trademark registration and applications for

          the PHEXXI mark;

      •   Documents relating to likelihood of confusion between IMVEXXY and PHEXXI;

      •   Documents reflecting communications between TherapeuticsMD and Evofem before and

          related to this action;

      •   Documents reflecting communications with the FDA regarding PHEXXI and/or goods

          associated therewith;

      •   Documents reflecting communications with the FDA regarding IMVEXXY and/or goods

          associated therewith; and

      •   Documents related to Evofem’s affirmative defenses and counterclaim.

          The documents, electronically stored information, and tangible things described above

   are located at the offices of Hackler Daghighian Martino & Novak P.C and/or at

   TherapeuticsMD’s offices. TherapeuticsMD will make available for inspection, relevant, non-

   privileged documents, electronically stored information, and tangible things in its possession,

   custody, or control at a mutually agreeable time.

          Many of these items contain or embody highly confidential financial and/or technical

   information about TherapeuticsMD and/or third parties. Such items will be produced and/or

   made available for inspection under the terms of the Protective Order.

          TherapeuticsMD’s investigation, research, and analysis of the issues in this case are

   ongoing. TherapeuticsMD expressly reserves the right to supplement its identification of

   categories of documents pursuant to Rule 26(e) as its investigation continues.


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   III.   COMPUTATION OF DAMAGES

   Fed. R. Civ. P. 26(a)(1)(a)(iii). Provide a computation of each category of damages claimed by

   the disclosing party—who must also make available for inspection and copying as under Fed. R.

   Civ. P. 34 the documents or other evidentiary material, unless privileged or protected from

   disclosure, on which each computation is based, including materials bearing on the nature and

   extent of injuries suffered.



   RESPONSE:

          Without waiver of any rights, TherapeuticsMD intends to seek the following:

              •   Injunctive relief from the Court to enjoin Evofem from:

                      a. Using, registering, or applying to register PHEXXI, or any other word or

              words which are identical and/or confusingly similar to TherapeuticsMD’s

              IMVEXXY mark, either alone, as part of, or together with, any other word or words,

              trademark, service mark, trade name, domain name, or other business or commercial

              designation in connection with the sale, offering for sale, advertising, promotion

              and/or distribution of pharmaceutical preparations for women’s sexual and

              reproductive health;

                      b. Selling, offering to sell, marketing, distributing, advertising, and/or

              promoting any pharmaceutical drug for women’s sexual and reproductive health with

              the word PHEXXI displayed on such product, packaging, advertising, or promotional

              materials;

                      c. Otherwise infringing the IMVEXXY mark;




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                      d. Engaging in actions that constitute unfair competition and/or false

              designation of origin; and

                      e. Engaging in deceptive or unfair trade practices in violation of the Florida

              Deceptive and Unfair Trade Practices Act, F.S.A. 501.201 et seq.

              •   An order from the Court to cancel Evofem’s U.S. Registration No. 6,201,656, and

   certifying such order to the Director of the USPTO make appropriate entry upon the Office

   records and effect such cancellation.

              •   An order from the Court requiring Evofem to abandon the Evofem Applications

   and all foreign counterparts.

              •   An order from the Court awarding (i) all of Evofem’s profits, gains, and

   advantages derived from the unauthorized use of the IMVEXXY mark or any confusingly

   similar mark, and that such sums be trebled; (ii) all damages sustained by TherapeuticsMD by

   reason of Evofem’s acts of trademark infringement and unfair competition, including amounts

   necessary for prospective corrective advertising, and that such damages be trebled; (iii)

   exemplary and punitive damages as the court finds appropriate to deter any future willful

   conduct; and (iv) interest, including prejudgment interest, on the foregoing sums.

              •   An order from the Court declaring the case exceptional under 15 U.S.C. §1117(a)

   and awarding all attorneys’ fees and costs.



   IV.    INSURANCE AGREEMENT

   Fed. R. Civ. P. 26(a)(1)(a)(iv). Provide, for inspection and copying as under Fed. R. Civ. P. 34,

   any insurance agreement under which an insurance business may be liable to satisfy all or part of




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   a possible judgment in the action or to indemnify or reimburse for payments made to satisfy the

   judgment.

   RESPONSE:

          TherapeuticsMD is presently unaware of any insurance agreement under which an

   insurance business may be liable to satisfy all or part of a possible judgment in the action or to

   indemnify or reimburse for payments made to satisfy the judgment. TherapeuticsMD reserves

   the right to supplement, amend, or modify this response.



   Dated: August 16, 2021
                                                Respectfully submitted,


                                                HACKLER DAGHIGHIAN MARTINO &
                                                NOVAK, P.C.

                                                By: /s/ Ehab M. Samuel
                                                Ehab Samuel (Pro Hac Vice)
                                                esamuel@hdmnlaw.com
                                                David A. Randall (Pro Hac Vice)
                                                dave@hdmnlaw.com
                                                Sepehr Daghighian (Pro Hac Vice)
                                                sd@hdmnlaw.com
                                                10900 Wilshire Blvd., Suite 300
                                                Los Angeles, CA 90024
                                                Tel.: (310) 887-1333
                                                Fax: (310) 887-1334

                                                and

                                                SHUTTS & BOWEN LLP
                                                Joseph W. Bain, Florida Bar No. 860360
                                                JBain@shutts.com
                                                Patricia A. Leonard, Florida Bar No. 65455
                                                pleonard@shutts.com
                                                Jodi-Ann Tillman, Florida Bar No. 1022214
                                                JTillman@shutts.com
                                                525 Okeechobee Boulevard, Suite 1100
                                                West Palm Beach, FL 33401
                                                Telephone: 561-835-8500

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                                     Facsimile: 561-650-8530

                                     Attorneys for Plaintiff
                                     THERAPEUTICSMD, INC.




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 16th day of August, 2021, I served a copy of

   PLAINTIFF THERAPEUTICSMD, INC.’S CORRECTED FIRST AMENDED INITIAL

   DISCLOSURES on all counsel of record for Defendant by email, as agreed upon by the parties,

   to the following:


          James A. Stepan, FL SBN 184896
          jstepan@stepanlaw.com
          Andrew D. Skale (CA SBN 211096)
          adskale@mintz.com
          Kara M. Cormier (MA BBO 684255)
          kmcormier@mintz.com

          Counsel for Defendant, Evofem Biosciences, Inc.

                                                  By:        /s/ Ehab M. Samuel
                                                            Ehab M. Samuel




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